Case 6:15-cv-02557-SMH-CBW Document 423 Filed 04/09/21 Page 1 of 4 PageID #: 16628




                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF LOUISIANA
                                       SHREVEPORT DIVISION

   ANTOINE RICHARD, ET. AL                                     CIVIL NO.: 15-2557

   VERSUS                                                      JUDGE S. MAURICE HICKS, JR.

   FLOWERS FOODS, INC., ET. AL                                 MAGISTRATE JUDGE WHITEHURST

                                           MEMORANDUM ORDER

             Before the Court is an Amended Report and Recommendation by the Magistrate

   Judge (Record Document 404) suggesting this Court grant the Plaintiffs’1 Motion for Class

   Certification (Record Document 299) to certify a class under the Louisiana Wage

   Payment Act (“LWPA”), La. Rev. Stat. § 23:631, et. seq, and deny Flowers Foods’ Motion

   for Decertification (Record Document 310) to decertify the conditional class under the Fair

   Labor Standards Act (“FLSA”), 29 U.S.C. § 201. Considering both Motions, the

   recommendations of the Magistrate Judge, and all objections filed herein, the Motion for

   Certification (Record Document 299) is DENIED and the Motion for Decertification

   (Record Document 310) is GRANTED.

             The Court relies on the recent U.S. Court of Appeals for the Fifth Circuit decision

   in Swales, et al. v. KLLM Trans. Serv., LLC, 985 F.3d 430 (5th Cir. 2021), in reaching its

   conclusion. The district court in Swales was asked to certify a class of individual

   transporters under the FLSA who argued they should be characterized as employees of

   KLLM, not independent contractors. The district court instituted its own hybrid version of

   the Lusardi certification analysis to grant class certification. On review, the Fifth Circuit

   rejected Lusardi and instead reiterated that it is the district courts who have “broad,



   1   Plaintiffs are a representative group of individual distributors employed by Flowers Foods, LLC.

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Case 6:15-cv-02557-SMH-CBW Document 423 Filed 04/09/21 Page 2 of 4 PageID #: 16629




   litigation-management discretion” in deciding whether to certify or decertify a class. Id. at

   443. The Fifth Circuit held that the district court must consider all evidence relating to the

   merits of independent contractor question to determine whether the analysis could be

   applied class wide. While the Fifth Circuit did not address whether the class should be

   certified, its reasoning is illustrative. The appellate court instructs district courts to

   determine whether assessing the appropriateness of class certification will begin an

   individualized expedition into each class member’s circumstances. If so, certification may

   not be proper.

           As explained by the Magistrate Judge in the instant Amended Report and

   Recommendation, to certify a class under the LWPA requires imposition of the factors set

   forth in Federal Rule of Civil Procedure 232 while the FLSA simply requires the collective

   members be “similarly situated.” 29 U.S.C. § 201. Here, Plaintiffs assert that because all

   potential class members seek classification as employees, the requirements of Rule 23

   and the FLSA are met. This Court agrees that on its face, the proposed members clear

   the hurdles of class certification. There is a common, central question among distributors

   that ties them all together: should they be treated as employees rather than independent

   contractors?

           However, the Court foresees difficulties in maintaining the classes as the suit

   proceeds. While each plaintiff is “similarly situated” in that they are all labeled as



   2 For the LWPA claim Plaintiffs must establish 1) that the class is ascertainable, 2) that joinder is
   impracticable, 3) there are common questions of law or fact 4) the representatives’ claims are typical 5) the
   representatives fairly and adequately represent class interests. See F.R.C.P. 23. Under 23(b)(3), a plaintiff
   must prove there are questions of fact or law common to the class that predominate over individual issues
   and that a class action is the superior method of trying the issues. See F.R.C.P. 23 (b)(3). Alternatively,
   23(b)(2) is appropriate when the opposition to the class has acted or refused to act on grounds that apply
   generally to the class.


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Case 6:15-cv-02557-SMH-CBW Document 423 Filed 04/09/21 Page 3 of 4 PageID #: 16630




   “distributors” seeking the same treatment, the Court believes the evidence presented

   indicates that adjudication of the merits would “quickly devolve into a cacophony of

   individual actions.” Swales, 985 F.3d at 442. As pointed out by Flowers Foods, the

   agreements signed by distributors are dissimilar, the ways distributors accomplish their

   jobs are different, each distributor’s relationship with his superiors is unique, the amount

   of overtime hours worked without pay vary as do the number of employees hired by

   individual distributors. The Court also notes that distributors in the proposed class are

   employed by different subsidiaries of Flowers Foods, Inc. from New Orleans, Louisiana

   to Tyler, Texas. Additionally, Flowers Foods is correct to underscore that the application

   of multiple defenses available against each distributor will require individual assessment

   by the Court. Because future adjudication of the merits will result in a splintering of the

   two classes into subgroups, the Court believes certification is inappropriate for both the

   LWPA and the FLSA claims.

          For the foregoing reasons, this Court declines to adopt the Amended Report and

   Recommendation (Record Document 404) of the Magistrate Judge.

          Instead, IT IS ORDERED that the Motion for Class Certification (Record

   Document 299) to certify the class of Plaintiffs under the Louisiana Wage Payment Act

   be DENIED.




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Case 6:15-cv-02557-SMH-CBW Document 423 Filed 04/09/21 Page 4 of 4 PageID #: 16631




         IT IS FURTHER ORDERED that the Motion for Decertification (Record

   Document 310) to decertify the conditional class under the Fair Labor Standards Act be

   GRANTED.

         THUS DONE AND SIGNED, in Shreveport, Louisiana this 8th day of April, 2021.




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